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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 VIRGINIA L. GIUFFRE,                                  Case No. 1:21-cv-06702-LAK

                                 Plaintiff,            ORAL ARGUMENT REQUESTED

          v.

 PRINCE ANDREW, DUKE OF YORK,
 a/k/a ANDREW ALBERT CHRISTIAN
 EDWARD, in his personal capacity,

                                 Defendant.


  DEFENDANT PRINCE ANDREW, DUKE OF YORK’S MOTION TO DISMISS THE
  COMPLAINT PURSUANT TO FRCP 12(b)(6) OR, IN THE ALTERNATIVE, FOR A
         MORE DEFINITE STATEMENT PURSUANT TO FRCP 12(e)

       For the reasons set forth in the Memorandum of Law and Request for Judicial Notice,

filed concurrently herewith, Defendant Prince Andrew, Duke of York (“Prince Andrew”)

respectfully moves to dismiss Plaintiff Virginia Giuffre’s Complaint [ECF No. 1], pursuant Rule

12(b)(6) of the Federal Rules of Civil Procedure for failure to state a claim upon which relief can

be granted, or in the alternative, for a an order requiring Plaintiff to provide a more definitive

statement of her allegations, pursuant to Rule 12(e) of the Federal Rules of Civil Procedure.

       Prince Andrew respectfully requests the Court hold oral argument on his Motion.

                                               Respectfully submitted,

Dated: October 29, 2021
Los Angeles, California                        LAVELY & SINGER, P.C.

                                               s/ Andrew B. Brettler           .
                                               Andrew B. Brettler (AB2662)
                                               Melissa Y. Lerner (pro hac vice)
                                               2049 Century Park East, Suite 2400
                                               Los Angeles, California 90067
                                               Telephone: (310) 556-3501
                                               abrettler@lavelysinger.com;
                                               mlerner@lavelysinger.com

                                               Attorneys for Prince Andrew, Duke of York
